                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION


                                                            Action No: 7:18CV00378
MARC EDWARDS, ET AL,                                        Date: 10/29/2018
vs.                                                         Judge: Michael F. Urbanski, CUSDJ
                                                            Court Reporter: Mary Butenschoen
PAUL SCHWARTZ, ET AL,
                                                            Deputy Clerk: Kristin Ayersman



Plaintiff Attorney(s)                               Defendant Attorney(s)
Jeremiah Andrew Denton, IV                          Arthur Phillip Hawgood, III, William Moran,
                                                    II, Guy Harbert, Mia Yugo, Elizabeth Hawgood



                                     LIST OF WITNESSES

PLAINTIFF/GOVERNMENT:                              DEFENDANT:
1.                                                 1.



PROCEEDINGS:
Parties present telephonically for PTM hearing.
Dft presents on motion to dismiss. Response from plaintiff. Court asks Mr. Denton to file a
supplemental memorandum re paragraphs of complaint that contain defamatory statements
(explicit or implied) for which he is relying on will be asking a jury to make a finding on. Court
gives dft two weeks to file that. Dft has 14 days after that to respond. Continued argument.

Court will not set trial date until study can be done, opinion can be written re claims.


Time in Court: 2:06-3:18      1 hour 12 minutes




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